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                         Exhibit A




                  Notices of Service
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From:                        CSCMatterManagement@cscinfo.com
Sent:                        Wednesday, April 29, 2020 3:22 PM
To:                          Michelle Frei; Christina Santangelo; Michelle Monheit
Subject:                     [EXTERNAL] New Service of Process - Summons/Complaint - Transmittal: 21457419




 New Service of Process Added to Matter Notification
 This message is an alert only. Please do not reply to this message.
 The following new Document(s) have been added to the following matter.

 Alert Date: 04/29/2020

 Assigned Document(s):


 Document ID:                        30581547 (View/Share the Document)
 Document Title :                   Summons/Complaint
 Answer Date :                      20
 Entity as Established :            Red Robin Gourmet Burgers, Inc
 Date Served :                      04/29/2020
 CSC Doc type :                     Summons/Complaint
 Court :                            Clark County District Court
 State Served :                     Delaware
 Document is Time Sensitive :
 Document is Service Of Process    :Yes

 Matter Information:
                                                 10214281
 Matter ID: 10214281 (Go to Matter Detail
 Folders)
 Matter Id :
                                                 Christopher Bruun vs. Red Robin Gourmet Burgers,
 Matter Full Name :
                                                 Inc.
 Jurisdiction :                                  Nevada
 Court / Admin. Agency / Other :                 Clark County District Court
 Cause # :                                       A-20-814178-C
 Nature of Case :                                Class Action
 Matter Users:
 Christina Santangelo csantangelo@redrobin.com
 Michelle DeVivo-Monheit mmonheit@redrobin.com
 Michelle Frei mfrei@redrobin.com



 Please visit www.cscglobal.com for more information on CSC's Litigation and Matter Management
 services.


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From:                        CSCMatterManagement@cscinfo.com
Sent:                        Thursday, April 30, 2020 3:22 PM
To:                          Michelle Frei; Christina Santangelo; Michelle Monheit
Subject:                     [EXTERNAL] New Service of Process - Summons/Complaint - Transmittal: 21462218




 New Service of Process Added to Matter Notification
 This message is an alert only. Please do not reply to this message.
 The following new Document(s) have been added to the following matter.

 Alert Date: 04/30/2020

 Assigned Document(s):


 Document ID:                       30587809 (View/Share the Document)
 Document Title :                   Summons/Complaint
 Answer Date :                      20
 Entity as Established :            Red Robin International, Inc.
 Date Served :                      04/30/2020
 CSC Doc type :                     Summons/Complaint
 Court :                            Clark County District Court
 State Served :                     Nevada
 Document is Time Sensitive :
 Document is Service Of Process    :Yes

 Matter Information:

 Matter ID: 10214281 (Go to Matter Detail        10214281
 Folders)

 Matter Id :
                                                 Christopher Bruun vs. Red Robin Gourmet Burgers,
 Matter Full Name :
                                                 Inc.
 Jurisdiction :                                  Nevada
 Court / Admin. Agency / Other :                 Clark County District Court
 Cause # :                                       A-20-814178-C
 Nature of Case :                                Class Action
 Matter Users:
 Christina Santangelo csantangelo@redrobin.com
 Michelle DeVivo-Monheit mmonheit@redrobin.com
 Michelle Frei mfrei@redrobin.com



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